     Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 1 of 41 Page ID #:92




 1     Guy Ruttenberg, Bar No. 207937
       guy@ruttenbergiplaw.com
 2     Steve A. Papazian, Bar No. 288097
       steve@ruttenbergiplaw.com
 3     RUTTENBERG IP LAW,
 4     A PROFESSIONAL CORPORATION
       1801 Century Park East, Suite 1920
 5     Los Angeles, CA 90067
       Telephone: (310) 627-2270
 6     Facsimile: (310) 627-2260
 7     Attorneys for Plaintiff Roxana Towry Russell, d/b/a
 8     Roxy Russell Design
 9
                           UNITED STATES DISTRICT COURT
10
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
        ROXANA TOWRY RUSSELL,              Case No. 5:19-cv-01074-FMO-SHK
12      d/b/a ROXY RUSSELL DESIGN, an
        individual                         FIRST AMENDED COMPLAINT FOR
13                                         INJUNCTIVE RELIEF AND
14                                         DAMAGES FOR:
                        Plaintiff,
15                                          1. COPYRIGHT INFRINGEMENT;
               v.                           2. FALSE DESIGNATION OF ORIGIN
16                                             UNDER THE LANHAM ACT;
                                            3. FALSE ADVERTISING UNDER
        INVECH INC, a California               THE LANHAM ACT;
17                                          4. COMMON LAW UNFAIR
        Corporation; INVECH INC, a
18                                             COMPETITION
        Colorado Corporation; INVECH        5. UNFAIR COMPETITION UNDER
        INC, a Company operating a virtual     CAL. BUS. & PROF. CODE § 17200
19
        storefront; CHUN YAN ZHANG, an
20      individual; RUYIN HE, an
                                            JURY TRIAL DEMANDED
21      individual; and ONE NAIL AND
        LASH BAR, a California Business,
22
                       Defendants.
23
24
25
26
27
28

                                FIRST AMENDED COMPLAINT
     Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 2 of 41 Page ID #:93




 1                                        COMPLAINT
 2          Plaintiff Roxana Towry Russell, d/b/a Roxy Russell Design (“Roxy Russell
 3    Design” or “RRD” or “Ms. Russell” or “Plaintiff”) by and through its undersigned
 4    attorneys, complains as follows:
 5                                       Nature of Action
 6          1.    Roxana Towry Russell is a renowned sculptural artist and small
 7    business owner based in Pasadena, California. Through her company Roxy Russell
 8    Design, Ms. Russell designs, manufactures, and sells various original and innovative
 9    pendant lamps. These lamps have garnered attention and acclaim all over the world,
10    having been featured in some of the most prominent design magazines and
11    purchased by luxury hotels, museums, aquariums, art galleries, and private
12    collectors. RRD has enjoyed significant commercial success.
13          2.    Defendants have willfully and brazenly copied RRD’s pendant lamps,
14    leading to a significant decline in RRD’s revenue and profits.
15          3.    Indeed, Defendants have even shamelessly and wantonly copied RRD’s
16    copyrighted images of its copyrighted pendant lamps to sell its own cheap,
17    counterfeit goods on platforms such as www.walmart.com and, on information and
18    belief, other third-party websites. Defendants’ copyright infringement, Lanham Act
19    violations, and various other forms of unfair competition have immensely harmed
20    and continue to harm RRD’s bottom line, goodwill and reputation.
21          4.    By this action, RRD seeks, among other things, injunctive relief
22    prohibiting Defendants from manufacturing, marketing, and selling its infringing
23    lamps, and to recover damages for Defendants’ willful copyright infringement,
24    Lanham Act violations and other wrongful and unlawful conduct.
25                                           Parties
26          5.    Ms. Russell is an individual artist residing in Pasadena, California
27    doing business under the name Roxy Russell Design.
28          6.    First-named Defendant Invech Inc (“Invech California”) is a California
                                               2
                              FIRST AMENDED COMPLAINT
     Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 3 of 41 Page ID #:94




 1    corporation. On or around March 3, 2018, Invech California disclosed to the
 2    Secretary of State of California that its principal executive office is located at 10399
 3    E. Foothill Blvd., Suite 103A, Rancho Cucamonga, California 91730.
 4              7.    Second-named Defendant Invech Inc (“Invech Colorado”) is a
 5    Colorado corporation. On or around March 22, 2019, Invech Colorado disclosed to
 6    the Secretary of State of Colorado that its principal office address was 945 Conrad
 7    Street, Colorado Springs, Colorado, 80915.
 8              8.    Third-named Defendant Invech Inc (“Invech Storefront”) is a company
 9    operating a virtual storefront on Walmart.com and elsewhere.
10              9.    On information and belief, Invech California, Invech Colorado and
11    Invech Storefront are alter egos of one another and/or a single enterprise. For
12    example, an individual purporting to be a representative of Invech Colorado claims
13    that Invech Colorado is responsible for the conduct alleged herein. Products
14    purchased from the Invech Inc storefront on www.walmart.com, however, are
15    shipped from Rancho Cucamonga, California, the city in which Invech California is
16    located.
17              10.   Invech California, Invech Colorado and Invech Storefront share a trade
18    name and/or corporate name and hold themselves out to the public as the same
19    entity.
20              11.   Allegations against “Invech” stated herein are against all three of
21    Invech California, Invech Colorado and Invech Storefront, which are jointly and
22    severally liable for the conduct alleged herein.
23              12.   Defendant Chun Yan Zhang is an individual living and working in or
24    near Rancho Cucamonga, California, with an office and/or mailing address at 10399
25    E. Foothill Blvd., Suite 103A, Rancho Cucamonga, California 91730. On
26    information and belief, Defendant Chun Yan Zhang is also known as Zhang Chun
27    Yan.
28              13.   Defendant Ruyin He is an individual living and working in or near
                                                    3
                                  FIRST AMENDED COMPLAINT
     Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 4 of 41 Page ID #:95




 1    Rancho Cucamonga, California, with an office and/or mailing address at 10399 E.
 2    Foothill Blvd., Suite 103A, Rancho Cucamonga, California 91730. On information
 3    and belief, Defendant Ruyin He is also known as He Ruyin.
 4          14.    Defendant One Nail and Lash Bar is a nail salon business located at
 5    10399 E. Foothill Blvd., Suite 103A, Rancho Cucamonga, California 91730, in San
 6    Bernardino County.
 7          15.    Defendants Invech and One Nail and Lash Bar are alter egos of one
 8    another.
 9          16.    Defendant One Nail and Lash Bar is not a separately organized and/or
10    incorporated business. Instead, Defendant Invech also operates under the name
11    “One Nail and Lash Bar,” and the two entities are one in the same.
12          17.    There is no business or other entity registered with the California
13    Secretary of State under the name “One Nail and Lash Bar.”
14          18.    Instead, “One Nail and Lash Bar” is a tradename and/or alias and/or dba
15    used by Invech to operate a nail salon.
16          19.    On March 3, 2018, Invech disclosed to the Secretary of State of
17    California that it is a “mail service” business.
18          20.    On May 20, 2019, Invech disclosed to the Secretary of State of
19    California that it is a “salon nail” business.
20          21.    To the extent One Nail and Lash Bar and Invech are separate entities,
21    they are alter egos of one another.
22          22.    One Nail and Lash Bar and Invech share an office and/or business
23    location at 10399 E. Foothill Blvd., Suite 103A, Rancho Cucamonga, California
24    91730.
25          23.    On information and belief, One Nail and Lash Bar and Invech are under
26    common control and ownership. For example, on information and belief, both One
27    Nail and Lash Bar and Invech are controlled by Chun Yan Zhang.
28          24.    One Nail and Lash Bar and Invech hold themselves out to the public as
                                                4
                               FIRST AMENDED COMPLAINT
     Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 5 of 41 Page ID #:96




 1    a single enterprise. For example, Invech has disclosed to the Secretary of State of
 2    California in public filings that it operates as both a “salon nail” business and also a
 3    “mail service” business.
 4          25.      It would be inequitable for One Nail and Lash Bar and Invech to hide
 5    behind their corporate veils. For example, it would be inequitable for Invech and
 6    One Nail and Lash Bar to hold themselves out to the public as a single entity but
 7    then deny they are one and the same for purposes of avoiding liability and
 8    enforcement of an eventual judgment.
 9          26.      Individual Defendants Chun Yan Zhang and Ruyin He are and/or have
10    been during the relevant time periods of the wrongful conduct alleged herein
11    corporate officers and/or directors of Defendants Invech and One Nail and Lash Bar.
12          27.      According to Invech’s registration statements with the California
13    Secretary of State, Defendant Chun Yan Zhang is and/or was Chief Executive
14    Officer, Secretary, Chief Financial Officer, Director, and Agent for Service of
15    Process of Invech.
16          28.      According to Invech’s registration statements with the California
17    Secretary of State, Defendant Ruyin He is and/or was Chief Executive Officer and
18    Chief Financial Officer of Invech.
19          29.      Individual Defendants Chun Yan Zhang and Ruyin He supervise,
20    control and direct the wrongful activities alleged herein, and/or did so during the
21    time periods of the wrongful conduct.
22                                    Jurisdiction and Venue
23          30.      This Court has subject matter jurisdiction pursuant to 17 U.S.C. § 501,
24    et seq. (copyright infringement) and 15 U.S.C. § 1121, et seq. (Lanham Act
25    violations).
26          31.      This Court also has supplemental jurisdiction over Plaintiff’s common
27    law unfair competition and Cal. Bus. & Prof. Code § 17200 claims pursuant to 28
28    U.S.C. § 1367.
                                              5
                                  FIRST AMENDED COMPLAINT
     Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 6 of 41 Page ID #:97




 1           32.    This Court has personal jurisdiction over each Defendant because each
 2    and every Defendant is a resident of this State and/or an alter ego of a resident of
 3    this State.
 4           33.    The Court also has personal jurisdiction over each Defendant because,
 5    inter alia, each Defendant has purposefully availed itself of the rights and privileges
 6    of this State and this District and/or purposefully directed its activities towards this
 7    forum and this District, including without limitation targeting California customers,
 8    selling products in this State and District, and shipping products from this State and
 9    District.
10           34.    Venue is proper in this district under 28 U.S.C. § 1400(a) because, inter
11    alia, Invech resides and may be found in this district.
12           35.    Venue is also proper in this district under 28 U.S.C. § 1391(b)(1)
13    because, inter alia, Invech resides in this district and a substantial portion of the
14    events giving rise to Plaintiff’s claims occurred in this district.
15           36.    For example, on information and belief, Defendant Invech’s principal
16    place of business is in Rancho Cucamonga, California.
17                                      Factual Background
18           37.    Ms. Russell is a sculptural artist based in Pasadena, CA. She holds a
19    Bachelor of Science in Industrial Design from Art Center College of Design in
20    Pasadena.
21           38.    Ms. Russell does business under the name Roxy Russell Design
22    (“RRD”). RRD designs, manufacturers, and sells several standalone lamps.
23           39.    In or around 2011, RRD began selling its pendant lamps to the public.
24    Today, RRD offers various pendant lamp designs, including under the names
25    Medusa, Polyp, Ophelia and Hydra. These four works are shown below:
26
27
28
                                              6
                                  FIRST AMENDED COMPLAINT
     Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 7 of 41 Page ID #:98




 1
 2                   Medusa                                  Polyp
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                          7
                              FIRST AMENDED COMPLAINT
     Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 8 of 41 Page ID #:99




 1                     Ophelia                                     Hydra
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18          40.    RRD sells lamps via, inter alia, its website, roxyrussell.bigcartel.com.
19    The lamps are sold separately for $375, $450, or $475, depending on the design.
20    RRD also sells its lamps through direct, offline transactions.
21          41.    RRD’s commercial success has led consumers, artists and others to
22    associate Ms. Russell’s lamps and photographs of her lamps with RRD. For
23    example, RRD’s Facebook page has thousands of followers. Moreover, RRD’s
24    pendant lamps have received significant coverage in different media.
25          42.    For instance, at least the following publications have featured RRD’s
26    pendant lamps: Architectural Digest Italy; Glamour; WIRED Magazine UK; Elle
27    Decor; IDEAT France; REDiseño; Industrial Design Served; beautiful life; and more.
28
                                             8
                                 FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 9 of 41 Page ID #:100




 1         43.    RRD’s lamps have also appeared on television programs, such as Pretty
 2   Little Liars and Extreme Makeover.
 3         44.    RRD’s lamps have also been displayed in public areas, such as at J Crew
 4   clothing stores and at the Aquarium of the Pacific in Long Beach, California.
 5         45.    RRD’s lamps are installed and displayed in guest cabins at high-end
 6   resorts such as the W Hotel and Spa in the Maldives.
 7         46.    RRD’s lamps are also prominently displayed in the entrance of the La
 8   Rochelle Aquarium in France.
 9         47.    RRD contracts with certain professional manufacturers in Los Angeles
10   to manufacture different aspects of its lamps. As needed, RRD has the capability to
11   significantly increase production capacity to meet the demand for its pendant lamps.
12         48.    RRD owns a valid copyright covering its Medusa lamp, an original
13   sculptural work. This work was duly registered with the United States Copyright
14   Office under Copyright Registration No. VA 1-765-597 (the “ʼ597 Registration”). A
15   true and correct copy of the ’597 Registration is attached hereto as Exhibit A.
16         49.    RRD owns a valid copyright covering its Polyp lamp, an original
17   sculptural work. This work was duly registered with the United States Copyright
18   Office under the ʼ597 Registration.
19         50.    RRD owns a valid copyright covering its Ophelia lamp, an original
20   sculptural work. This work was duly registered with the United States Copyright
21   Office under the ʼ597 Registration.
22         51.    RRD owns a valid copyright covering its Hydra lamp, an original
23   sculptural work. This work was duly registered with the United States Copyright
24   Office under the ʼ597 Registration.
25         52.    RRD owns a valid copyright covering its photograph of the Medusa
26   lamp, an original visual work of art. This work was duly registered with the United
27   States Copyright Office under Registration No. VA 1-765-599 (the “ʼ599
28
                                           9
                               FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 10 of 41 Page ID #:101




 1   Registration”). A true and correct copy of the ’597 Registration is attached hereto as
 2   Exhibit B.
 3         53.      RRD owns a valid copyright covering its photograph of the Polyp lamp,
 4   an original visual work of art. This work was duly registered with the United States
 5   Copyright Office under the ʼ599 Registration.
 6         54.      RRD owns a valid copyright covering its photograph of the Ophelia
 7   lamp, an original visual work of art. This work was duly registered with the United
 8   States Copyright Office under the ʼ599 Registration.
 9         55.      RRD owns a valid copyright covering its photograph of the Hydra lamp,
10   an original visual work of art. This work was duly registered with the United States
11   Copyright Office under the ʼ599 Registration.
12      Invech’s Unauthorized Use of Roxy Russell Design’s Copyrighted Works
13         56.      Invech has represented itself as a “mail service” business to the
14   California Secretary of State.
15         57.      Invech also represents that it has “been selling on Walmart Marketplace
16   since 2018.”
17         58.      Invech further represents that it “sell[s] Generic, Meigar, Asewin,
18   Moaere and Unbranded products in Home, Clothing and Home Improvement
19   categories.”
20         59.      According to Walmart’s website, Invech sells over 1,000 products on its
21   online marketplace, www.walmart.com.
22         60.      Invech purports to sell “Jellyfish Lampshades” and similar products on
23   Walmart’s online marketplace (www.walmart.com). Invech includes the following
24   description of one such product: “1Pcs Glow Ethereal Jellyfish Lampshade Ceiling
25   Chandelier Light Pendant Hanging Lamp.” A true and correct website printout of
26   Invech’s webpage selling this product on www.walmart.com is attached hereto as
27   Exhibit C.
28
                                            10
                                 FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 11 of 41 Page ID #:102




 1         61.   Invech has copied, reproduced, distributed, and/or publicly displayed
 2   RRD’s copyrighted works without authorization.
 3         62.   For example, as seen in Exhibit C and reproduced below, Invech’s
 4   webpage for its “1Pcs Glow Ethereal Jellyfish Lampshade Ceiling Chandelier Light
 5   Pendant Hanging Lamp” copies, reproduces, distributes and/or publicly displays
 6   several of RRD’s copyrighted works, including its copyrighted photographs of
 7   Medusa and Polyp:
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                         11
                              FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 12 of 41 Page ID #:103




 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                      12
                           FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 13 of 41 Page ID #:104




 1         63.    Invech caused the images on the webpage appearing above in paragraph
 2   62 and attached hereto as Exhibit C to be reproduced, copied, and/or publicly
 3   displayed.
 4         64.    The images on the webpage appearing above in paragraph 62 and
 5   attached hereto as Exhibit C show lamps that were designed and manufactured by
 6   Roxy Russell Design.
 7         65.    The images on the webpage appearing above in paragraph 62 and
 8   attached hereto as Exhibit C do not show lamps that are sold by Invech through the
 9   webpage attached hereto as Exhibit C.
10         66.    Invech has not sought authorization from RRD to reproduce, publicly
11   display, distribute, prepare derivative works, or in any way use any of RRD’s
12   copyrighted works.
13         67.    On information and belief, Invech has also reproduced, publicly
14   displayed, distributed, prepared derivative works, used, and continues to reproduce,
15   publicly display, distribute, prepare derivative works, and use RRD’s copyrighted
16   photographs in connection with the sale of jellyfish lamps on other
17   www.walmart.com webpages and other online marketplaces, including eBay, Alibaba
18   and other locations.
19         68.    The lamps sold by Invech are substantially similar and/or nearly
20   identical to RRD’s lamps. For example, Invech has copied, reproduced, and sold
21   imitation versions of at least RRD’s copyrighted Hydra, Ophelia, and Medusa, lamps,
22   as shown below.
23
24
25
26
27
28
                                          13
                               FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 14 of 41 Page ID #:105




 1      RRD’s Copyrighted Hydra Lamp            Invech’s Unauthorized Copy
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14     RRD’s Copyrighted Ophelia Lamp           Invech’s Unauthorized Copy
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                      14
                           FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 15 of 41 Page ID #:106




 1      RRD’s Copyrighted Medusa Lamp                 Invech’s Unauthorized Copy
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
           69.   RRD has not authorized Invech to reproduce, publicly display,
15
     distribute, prepare derivative works, or in any way use any of RRD’s copyrighted
16
     works.
17
           70.   On information and belief, Invech’s www.walmart.com webpages have
18
     been loaded and viewed by thousands of users in the United States.
19
           71.   On information and belief, Invech has sold thousands of infringing
20
     products in the United States through its storefronts on www.walmart.com, eBay,
21
     Alibaba, and other online marketplaces.
22
                  Defendants’ Wrongful Conduct After Receiving Notice
23
           72.   Before bringing suit, Ms. Russell provided notice to Defendants of their
24
     wrongful conduct.
25
           73.   For example, on May 15, 2019, Ms. Russell (through counsel) sent a
26
     letter to Ms. He and Ms. Zhang of Invech and One Nail and Lash Bar, providing
27
28
                                         15
                              FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 16 of 41 Page ID #:107




 1   notice, enclosing a draft Complaint and inviting them to discuss this matter prior to
 2   filing suit.
 3          74.     No one from Invech responded to the letter from Ms. Russell’s counsel.
 4          75.     Counsel for Ms. Russell also called Invech and/or One Nail and Lash
 5   Bar and left a message for Ms. He and Ms. Zhang, neither of whom returned
 6   counsel’s call.
 7                                             COUNT I
 8    (Copyright Infringement of Medusa Pictorial Work under 17 U.S.C. § 501 Against
 9                                           All Defendants)
10          76.     Plaintiff incorporates and realleges by reference paragraphs 1 through 75
11   above as if set forth in full herein.
12          77.     Plaintiff owns a valid copyright with respect to its Medusa pictorial
13   work shown below, registered under the ’599 Registration:
14
15
16
17
18
19
20
21
22
23
24          78.     Plaintiff has complied with all statutory formalities required by the
25   Copyright Act to maintain the validity of its copyright in the Medusa pictorial work.
26          79.     On multiple occasions, Invech has copied, reproduced, publicly
27   displayed, distributed, prepared derivative works, and/or otherwise used Plaintiff’s
28
                                            16
                                 FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 17 of 41 Page ID #:108




 1   copyrighted Medusa pictorial work in connection with selling its own lamps online,
 2   including at www.walmart.com.
 3         80.      Invech had access to Plaintiff’s copyrighted Medusa pictorial work,
 4   which is available online.
 5         81.      Invech directly copied the copyrighted Medusa pictorial work.
 6         82.      Indeed, Invech has also copied, reproduced, publicly displayed,
 7   distributed, and/or otherwise used identical and/or nearly identical versions of
 8   Plaintiff’s copyrighted Medusa photograph, giving rise to a presumption of access.
 9         83.      Invech’s unauthorized copying, reproduction, public display,
10   distribution, derivative works, and/or use constitutes direct and/or contributory
11   copyright infringement under 17 U.S.C. § 501.
12         84.      Invech’s actions in violation of the Copyright Act have been knowing
13   and willful.
14         85.      For example, Invech knows or should know that the Medusa pictorial
15   work does not depict Invech’s own pendant lamps, but rather the lamp of a
16   competitor.
17         86.      Invech’s conduct is causing, and is likely to continue to cause,
18   irreparable harm to Plaintiff, and Invech’s unlawful conduct will continue to cause
19   Plaintiff irreparable injury unless Invech is enjoined by this Court. Plaintiff has no
20   adequate remedy at law. Plaintiff is entitled to preliminary and permanent injunctive
21   relief pursuant to 17 U.S.C. § 502.
22         87.      Plaintiff registered its copyright in the Medusa pictorial work prior to
23   Invech’s infringement; thus, Plaintiff may be awarded its attorneys’ fees and costs
24   and statutory damages.
25         88.      Plaintiff’s Medusa pictorial work has independent economic value and
26   constitutes a separate work of art.
27
28
                                             17
                                  FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 18 of 41 Page ID #:109




 1          89.    On information and belief, individual defendants and corporate officers
 2   of Invech Ms. He and Ms. Zhang personally engaged in the violation of Plaintiff’s
 3   exclusive rights in the Medusa Pictorial work alleged herein.
 4          90.    On information and belief, individual defendants and corporate officers
 5   of Invech Ms. He and Ms. Zhang supervised, and had and have the ability to
 6   supervise, Invech’s infringing activity alleged herein—e.g., Invech’s copying and
 7   publication of the Medusa Pictorial work—and have a financial interest in that
 8   activity.
 9          91.    As a result of Invech, Ms. He, and Ms. Zhang’s wrongful actions,
10   Plaintiff has suffered damages in an amount to be proven at trial. Plaintiff is entitled
11   to its actual damages and Invech’s profits or, alternatively, statutory damages, as well
12   as its costs, attorneys’ fees and interest.
13          92.    Defendant One Nail and Lash Bar is and was the alter ego and/or is and
14   was operating as a single enterprise with Invech during all activities described herein
15   and is jointly and severally liable for all harm, damage, and loss to Plaintiff caused by
16   Invech, Ms. He, and Ms. Zhang.
17                                           COUNT II
18   (Copyright Infringement of Polyp Pictorial Work under 17 U.S.C. § 501 Against All
19                                           Defendants)
20          93.    Plaintiff incorporates and realleges by reference paragraphs 1 through 92
21   above as if set forth in full herein.
22          94.    Plaintiff owns a valid copyright with respect to its Polyp pictorial work
23   shown below, registered under the ’599 Registration:
24
25
26
27
28
                                            18
                                 FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 19 of 41 Page ID #:110




 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13         95.    Plaintiff has complied with all statutory formalities required by the
14   Copyright Act to maintain the validity of its copyright in the Polyp pictorial work.
15         96.    On multiple occasions, Invech has copied, reproduced, publicly
16   displayed, distributed, prepared derivative works, and/or otherwise used Plaintiff’s
17   copyrighted Polyp pictorial work in connection with selling its own lamps online,
18   including at www.walmart.com.
19         97.    Invech had access to Plaintiff’s copyrighted Polyp pictorial work, which
20   is available online.
21         98.    Invech has directly copied the copyrighted Polyp pictorial work.
22         99.    Indeed, Invech has also copied, reproduced, publicly displayed,
23   distributed, and/or otherwise used identical and/or nearly identical versions of
24   Plaintiff’s copyrighted Polyp photograph, giving rise to a presumption of access.
25         100. Invech’s unauthorized copying, reproduction, public display,
26   distribution, derivative works, and/or use constitutes direct and/or contributory
27   copyright infringement under 17 U.S.C. § 501.
28
                                           19
                                FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 20 of 41 Page ID #:111




 1          101. Invech’s actions in violation of the Copyright Act have been knowing
 2   and willful.
 3          102. For example, Invech knows or should know that the Polyp pictorial
 4   work does not depict Invech’s own pendant lamps, but rather the lamp of a
 5   competitor.
 6          103. Invech’s conduct is causing, and is likely to continue to cause,
 7   irreparable harm to Plaintiff, and Invech’s unlawful conduct will continue to cause
 8   Plaintiff irreparable injury unless Invech is enjoined by this Court. Plaintiff has no
 9   adequate remedy at law. Plaintiff is entitled to preliminary and permanent injunctive
10   relief pursuant to 17 U.S.C. § 502.
11          104. Plaintiff registered its copyright in the Polyp pictorial work prior to
12   Invech’s infringement; thus, Plaintiff may be awarded its attorneys’ fees and costs
13   and statutory damages.
14          105. Plaintiff’s Polyp pictorial work has independent economic value and
15   constitutes a separate work of art.
16          106. On information and belief, individual defendants and corporate officers
17   of Invech Ms. He and Ms. Zhang personally engaged in the violation of Plaintiff’s
18   exclusive rights in the Polyp Pictorial work alleged herein.
19          107. On information and belief, individual defendants and corporate officers
20   of Invech Ms. He and Ms. Zhang supervised, and had and have the ability to
21   supervise, Invech’s infringing activity alleged herein—e.g., Invech’s copying and
22   publication of the Polyp Pictorial work—and have a financial interest in that activity.
23          108. As a result of Invech, Ms. He, and Ms. Zhang’s wrongful actions,
24   Plaintiff has suffered damages in an amount to be proven at trial. Plaintiff is entitled
25   to its actual damages and Invech’s profits or, alternatively, statutory damages, as well
26   as its costs, attorneys’ fees and interest.
27          109. Defendant One Nail and Lash Bar is and was the alter ego and/or is and
28   was operating as a single enterprise with Invech during all activities described herein
                                                 20
                                FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 21 of 41 Page ID #:112




 1   and is jointly and severally liable for all harm, damage, and loss to Plaintiff caused by
 2   Invech, Ms. He, and Ms. Zhang.
 3                                         COUNT III
 4   (Copyright Infringement of Hydra Pictorial Work under 17 U.S.C. § 501 Against All
 5                                          Defendants)
 6         110. Plaintiff incorporates and realleges by reference paragraphs 1 through
 7   109 above as if set forth in full herein.
 8         111. Plaintiff owns a valid copyright with respect to its Hydra pictorial work
 9   shown below, registered under the ’599 Registration:
10
11
12
13
14
15
16
17
18
19
20
21
22
23         112. Plaintiff has complied with all statutory formalities required by the
24   Copyright Act to maintain the validity of its copyright in the Hydra pictorial work.
25         113. On multiple occasions, Invech has copied, reproduced, publicly
26   displayed, distributed, prepared derivative works, and/or otherwise used Plaintiff’s
27   copyrighted Hydra pictorial work in connection with selling its own lamps online,
28   including at www.walmart.com.
                                            21
                                 FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 22 of 41 Page ID #:113




 1         114. Invech had access to Plaintiff’s copyrighted Hydra pictorial work, which
 2   is available online.
 3         115. Invech has directly copied the copyrighted Hydra pictorial work.
 4         116. Indeed, Invech has also copied, reproduced, publicly displayed,
 5   distributed, and/or otherwise used identical and/or nearly identical versions of
 6   Plaintiff’s copyrighted Hydra photograph, giving rise to a presumption of access.
 7         117. Invech’s unauthorized copying, reproduction, public display,
 8   distribution, derivative works, and/or use constitutes direct and/or contributory
 9   copyright infringement under 17 U.S.C. § 501.
10         118. Invech’s actions in violation of the Copyright Act have been knowing
11   and willful.
12         119. For example, Invech knows or should know that the Hydra pictorial
13   work does not depict Invech’s own pendant lamps, but rather the lamp of a
14   competitor.
15         120. Invech’s conduct is causing, and is likely to continue to cause,
16   irreparable harm to Plaintiff, and Invech’s unlawful conduct will continue to cause
17   Plaintiff irreparable injury unless Invech is enjoined by this Court. Plaintiff has no
18   adequate remedy at law. Plaintiff is entitled to preliminary and permanent injunctive
19   relief pursuant to 17 U.S.C. § 502.
20         121. Plaintiff registered its copyright in the Hydra pictorial work prior to
21   Invech’s infringement; thus, Plaintiff may be awarded its attorneys’ fees and costs
22   and statutory damages.
23         122. Plaintiff’s Hydra pictorial work has independent economic value and
24   constitutes a separate work of art.
25         123. On information and belief, individual defendants and corporate officers
26   of Invech Ms. He and Ms. Zhang personally engaged in the violation of Plaintiff’s
27   exclusive rights in the Hydra Pictorial work alleged herein.
28
                                           22
                                FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 23 of 41 Page ID #:114




 1          124. On information and belief, individual defendants and corporate officers
 2   of Invech Ms. He and Ms. Zhang supervised, and had and have the ability to
 3   supervise, Invech’s infringing activity alleged herein—e.g., Invech’s copying and
 4   publication of the Hydra Pictorial work—and have a financial interest in that activity.
 5          125. As a result of Invech, Ms. He, and Ms. Zhang’s wrongful actions,
 6   Plaintiff has suffered damages in an amount to be proven at trial. Plaintiff is entitled
 7   to its actual damages and Invech’s profits or, alternatively, statutory damages, as well
 8   as its costs, attorneys’ fees and interest.
 9          126. Defendant One Nail and Lash Bar is and was the alter ego and/or is and
10   was operating as a single enterprise with Invech during all activities described herein
11   and is jointly and severally liable for all harm, damage, and loss to Plaintiff caused by
12   Invech, Ms. He, and Ms. Zhang.
13                                          COUNT IV
14    (Copyright Infringement of Ophelia Pictorial Work under 17 U.S.C. § 501 Against
15                                        All Defendants)
16          127. Plaintiff incorporates and realleges by reference paragraphs 1 through
17   126 above as if set forth in full herein.
18          128. Plaintiff owns a valid copyright with respect to its Ophelia pictorial
19   work shown below, registered under the ’599 Registration:
20
21
22
23
24
25
26
27
28
                                            23
                                 FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 24 of 41 Page ID #:115




 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13         129. Plaintiff has complied with all statutory formalities required by the
14   Copyright Act to maintain the validity of its copyright in the Ophelia pictorial work.
15         130. On multiple occasions, Invech has copied, reproduced, publicly
16   displayed, distributed, prepared derivative works, and/or otherwise used Plaintiff’s
17   copyrighted Ophelia pictorial work in connection with selling its own lamps online,
18   including at www.walmart.com.
19         131. Invech had access to Plaintiff’s copyrighted Ophelia pictorial work,
20   which is available online.
21         132. Invech has directly copied the copyrighted Ophelia pictorial work.
22         133. Indeed, Invech has also copied, reproduced, publicly displayed,
23   distributed, and/or otherwise used identical and/or nearly identical versions of
24   Plaintiff’s copyrighted Ophelia photograph, giving rise to a presumption of access.
25         134. Invech’s unauthorized copying, reproduction, public display,
26   distribution, derivative works, and/or use constitutes direct and/or contributory
27   copyright infringement under 17 U.S.C. § 501.
28
                                             24
                                  FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 25 of 41 Page ID #:116




 1          135. Invech’s actions in violation of the Copyright Act have been knowing
 2   and willful.
 3          136. For example, Invech knows or should know that the Ophelia pictorial
 4   work does not depict Invech’s own pendant lamps, but rather the lamp of a
 5   competitor.
 6          137. Invech’s conduct is causing, and is likely to continue to cause,
 7   irreparable harm to Plaintiff, and Invech’s unlawful conduct will continue to cause
 8   Plaintiff irreparable injury unless Invech is enjoined by this Court. Plaintiff has no
 9   adequate remedy at law. Plaintiff is entitled to preliminary and permanent injunctive
10   relief pursuant to 17 U.S.C. § 502.
11          138. Plaintiff registered its copyright in the Ophelia pictorial work prior to
12   Invech’s infringement; thus, Plaintiff may be awarded its attorneys’ fees and costs
13   and statutory damages.
14          139. Plaintiff’s Ophelia pictorial work has independent economic value and
15   constitutes a separate work of art.
16          140. On information and belief, individual defendants and corporate officers
17   of Invech Ms. He and Ms. Zhang personally engaged in the violation of Plaintiff’s
18   exclusive rights in the Ophelia Pictorial work alleged herein.
19          141. On information and belief, individual defendants and corporate officers
20   of Invech Ms. He and Ms. Zhang supervised, and had and have the ability to
21   supervise, Invech’s infringing activity alleged herein—e.g., Invech’s copying and
22   publication of the Ophelia Pictorial work—and have a financial interest in that
23   activity.
24          142. As a result of Invech, Ms. He, and Ms. Zhang’s wrongful actions,
25   Plaintiff has suffered damages in an amount to be proven at trial. Plaintiff is entitled
26   to its actual damages and Invech’s profits or, alternatively, statutory damages, as well
27   as its costs, attorneys’ fees and interest.
28
                                            25
                                 FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 26 of 41 Page ID #:117




 1         143. Defendant One Nail and Lash Bar is and was the alter ego and/or is and
 2   was operating as a single enterprise with Invech during all activities described herein
 3   and is jointly and severally liable for all harm, damage, and loss to Plaintiff caused by
 4   Invech, Ms. He, and Ms. Zhang.
 5                                          COUNT V
 6   (Copyright Infringement of Medusa Sculptural Work under 17 U.S.C. § 501 Against
 7                                        All Defendants)
 8         144. Plaintiff incorporates and realleges by reference paragraphs 1 through
 9   143 above as if set forth in full herein.
10         145. Plaintiff owns a valid copyright with respect to its Medusa sculptural
11   work, registered under the ’597 Registration.
12         146. Plaintiff has complied with all statutory formalities required by the
13   Copyright Act to maintain the validity of its copyright in the Medusa sculptural work.
14         147. Invech manufactures, markets, displays, and sells lamps that are
15   substantially similar and/or nearly identical to Plaintiff’s copyrighted Medusa
16   sculptural work.
17         148. For example, SKU935698-14773964, referenced as “Pendant Light
18   Made of PVC” is substantially similar and/or nearly identical to Plaintiff’s original
19   Medusa sculptural work.
20         149. Both Plaintiff’s copyrighted work and Invech’s SKU935698-14773964
21   work have crowns made of similarly-shaped and/or nearly identical elongated, ridged
22   and interleaving pieces.
23         150. Both Plaintiff’s copyrighted work and Invech’s SKU935698-14773964
24   work also have three sets of pendant, tentacle-like elongated pieces, two of which are
25   substantially the same length and a third set that is shorter. With respect to the two
26   sets of elongated pieces that are substantially the same length, one set includes
27   substantially rectangular pieces with substantially parallel sides, whereas the other set
28   includes substantially rectangular shaped pieces with substantially oval-shaped
                                                 26
                                FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 27 of 41 Page ID #:118




 1   regions. With respect to the third, shorter set of elongated pieces, both works contain
 2   a set of elongated pieces that are substantially rectangular with substantially parallel
 3   sides.
 4            151. The similarities noted herein are illustrative and several other similarities
 5   exist between Plaintiff’s copyrighted work and Invech’s infringing works.
 6            152. Invech had access to Plaintiff’s copyrighted Medusa sculptural work
 7   and/or pictorial depictions of this work, which are available online and have been
 8   directly copied by Invech.
 9            153. Indeed, Invech has also copied, reproduced, publicly displayed,
10   distributed, and/or otherwise used identical and/or nearly identical versions of
11   Plaintiff’s copyrighted Medusa pictorial work, giving rise to a presumption of access.
12            154. Invech’s unauthorized copying, reproduction, derivative works, and/or
13   use constitutes direct and/or contributory copyright infringement under 17 U.S.C.
14   § 501.
15            155. Invech’s actions in violation of the Copyright Act have been knowing
16   and willful.
17            156. Invech’s conduct is causing, and is likely to continue to cause,
18   irreparable harm to Plaintiff, and Invech’s unlawful conduct will continue to cause
19   Plaintiff irreparable injury unless Invech is enjoined by this Court. Plaintiff has no
20   adequate remedy at law. Plaintiff is entitled to preliminary and permanent injunctive
21   relief pursuant to 17 U.S.C. § 502.
22            157. Plaintiff registered its copyright in the Medusa sculptural work prior to
23   Invech’s infringement; thus, Plaintiff may be awarded its attorneys’ fees and costs
24   and statutory damages.
25            158. Plaintiff’s Medusa sculptural work has independent economic value and
26   constitutes a separate work of art.
27
28
                                             27
                                  FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 28 of 41 Page ID #:119




 1          159. On information and belief, individual defendants and corporate officers
 2   of Invech Ms. He and Ms. Zhang personally engaged in the violation of Plaintiff’s
 3   exclusive rights in the Medusa sculptural work alleged herein.
 4          160. On information and belief, individual defendants and corporate officers
 5   of Invech Ms. He and Ms. Zhang supervised, and had and have the ability to
 6   supervise, Invech’s infringing activity alleged herein—e.g., Invech’s copying and
 7   publication of the Medusa sculptural work—and have a financial interest in that
 8   activity.
 9          161. As a result of Invech, Ms. He, and Ms. Zhang’s wrongful actions,
10   Plaintiff has suffered damages in an amount to be proven at trial. Plaintiff is entitled
11   to its actual damages and Invech’s profits or, alternatively, statutory damages, as well
12   as its costs, attorneys’ fees and interest.
13          162. Defendant One Nail and Lash Bar is and was the alter ego and/or is and
14   was operating as a single enterprise with Invech during all activities described herein
15   and is jointly and severally liable for all harm, damage, and loss to Plaintiff caused by
16   Invech, Ms. He, and Ms. Zhang.
17                                          COUNT VI
18    (Copyright Infringement of Hydra Sculptural Work under 17 U.S.C. § 501 Against
19                                        All Defendants)
20          163. Plaintiff incorporates and realleges by reference paragraphs 1 through
21   162 above as if set forth in full herein.
22          164. Plaintiff owns a valid copyright with respect to its Hydra sculptural
23   work, registered under the ’597 Registration.
24          165. Plaintiff has complied with all statutory formalities required by the
25   Copyright Act to maintain the validity of its copyright in the Hydra sculptural work.
26          166. Invech manufactures, markets, displays, and sells lamps that are
27   substantially similar and/or nearly identical to Plaintiff’s copyrighted Hydra
28   sculptural work.
                                            28
                                 FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 29 of 41 Page ID #:120




 1            167. For example, SKU935698-14967155, referenced as “Pendant Light
 2   Made of PVC” is substantially similar and/or nearly identical to Plaintiff’s original
 3   Hydra sculptural work.
 4            168. Both Plaintiff’s copyrighted work and Invech’s SKU935698-14967155
 5   work have crowns made of similarly-shaped and/or nearly identical elongated, ridged
 6   and interleaving pieces. Both works also have two sets of pendant, tentacle-like
 7   elongated pieces, which are substantially the same length. One set of such pieces
 8   includes substantially rectangular pieces with substantially parallel sides, whereas the
 9   other set includes substantially rectangular shaped pieces with substantially circle-
10   shaped regions.
11            169. The similarities noted herein are illustrative and several other similarities
12   exist between Plaintiff’s copyrighted work and Invech’s infringing works.
13            170. Invech had access to Plaintiff’s copyrighted Hydra sculptural work
14   and/or pictorial depictions of this work, which are available online and have been
15   directly copied by Invech.
16            171. Indeed, Invech has also copied, reproduced, publicly displayed,
17   distributed, and/or otherwise used identical and/or nearly identical versions of
18   Plaintiff’s copyrighted Hydra pictorial work, giving rise to a presumption of access.
19            172. Invech’s unauthorized copying, reproduction, derivative works, and/or
20   use constitutes direct and/or contributory copyright infringement under 17 U.S.C.
21   § 501.
22            173. Invech’s actions in violation of the Copyright Act have been knowing
23   and willful.
24            174. Invech’s conduct is causing, and is likely to continue to cause,
25   irreparable harm to Plaintiff, and Invech’s unlawful conduct will continue to cause
26   Plaintiff irreparable injury unless Invech is enjoined by this Court. Plaintiff has no
27   adequate remedy at law. Plaintiff is entitled to preliminary and permanent injunctive
28   relief pursuant to 17 U.S.C. § 502.
                                             29
                                  FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 30 of 41 Page ID #:121




 1          175. Plaintiff registered its copyright in the Hydra sculptural work prior to
 2   Invech’s infringement; thus, Plaintiff may be awarded its attorneys’ fees and costs
 3   and statutory damages.
 4          176. Plaintiff’s Hydra sculptural work has independent economic value and
 5   constitutes a separate work of art.
 6          177. On information and belief, individual defendants and corporate officers
 7   of Invech Ms. He and Ms. Zhang personally engaged in the violation of Plaintiff’s
 8   exclusive rights in the Hydra sculptural work alleged herein.
 9          178. On information and belief, individual defendants and corporate officers
10   of Invech Ms. He and Ms. Zhang supervised, and had and have the ability to
11   supervise, Invech’s infringing activity alleged herein—e.g., Invech’s copying and
12   publication of the Hydra sculptural work—and have a financial interest in that
13   activity.
14          179. As a result of Invech, Ms. He, and Ms. Zhang’s wrongful actions,
15   Plaintiff has suffered damages in an amount to be proven at trial. Plaintiff is entitled
16   to its actual damages and Invech’s profits or, alternatively, statutory damages, as well
17   as its costs, attorneys’ fees and interest.
18          180. Defendant One Nail and Lash Bar is and was the alter ego and/or is and
19   was operating as a single enterprise with Invech during all activities described herein
20   and is jointly and severally liable for all harm, damage, and loss to Plaintiff caused by
21   Invech, Ms. He, and Ms. Zhang.
22                                          COUNT VII
23   (Copyright Infringement of Ophelia Sculptural Work under 17 U.S.C. § 501 Against
24                                         All Defendants)
25          181. Plaintiff incorporates and realleges by reference paragraphs 1 through
26   180 above as if set forth in full herein.
27          182. Plaintiff owns a valid copyright with respect to its Ophelia sculptural
28   work, registered under the ’597 Registration.
                                                30
                               FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 31 of 41 Page ID #:122




 1            183. Plaintiff has complied with all statutory formalities required by the
 2   Copyright Act to maintain the validity of its copyright in the Ophelia sculptural work.
 3            184. Invech manufactures, markets, displays, and sells lamps that are
 4   substantially similar and/or nearly identical to Plaintiff’s copyrighted Ophelia
 5   sculptural work.
 6            185. For example, SKU935698-14967156, referenced as “Pendant Light
 7   Made of PVC” is substantially similar and/or nearly identical to Plaintiff’s original
 8   Ophelia sculptural work.
 9            186. Both Plaintiff’s copyrighted work and Invech’s SKU935698-14967156
10   work have two-part crowns made of an eight-part upper crown with four perforated
11   leaf-shaped parts and four shorter barb-shaped parts, both of which curve upward,
12   and a lower crown of roughly bell-shaped pieces that substantially come to a point.
13            187. Both Plaintiff’s copyrighted work and Invech’s SKU935698-14967156
14   work also have two sets of elongated tentacle-like pieces, one of which contains three
15   curved pieces and another of which contains a plurality of substantially rectangular
16   elongated pieces with oval-shaped sections.
17            188. The similarities noted herein are illustrative and several other similarities
18   exist between Plaintiff’s copyrighted work and Invech’s infringing works.
19            189. Invech had access to Plaintiff’s copyrighted Ophelia sculptural work
20   and/or pictorial depictions of this work, which are available online and have been
21   directly copied by Invech.
22            190. Indeed, Invech has even copied, reproduced, publicly displayed,
23   distributed, and/or otherwise used identical and/or nearly identical versions of
24   Plaintiff’s copyrighted Ophelia pictorial work, giving rise to a presumption of access.
25            191. Invech’s unauthorized copying, reproduction, derivative works, and/or
26   use constitutes direct and/or contributory copyright infringement under 17 U.S.C.
27   § 501.
28
                                             31
                                  FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 32 of 41 Page ID #:123




 1          192. Invech’s actions in violation of the Copyright Act have been knowing
 2   and willful.
 3          193. Invech’s conduct is causing, and is likely to continue to cause,
 4   irreparable harm to Plaintiff, and Invech’s unlawful conduct will continue to cause
 5   Plaintiff irreparable injury unless Invech is enjoined by this Court. Plaintiff has no
 6   adequate remedy at law. Plaintiff is entitled to preliminary and permanent injunctive
 7   relief pursuant to 17 U.S.C. § 502.
 8          194. Plaintiff registered its copyright in the Ophelia sculptural work prior to
 9   Invech’s infringement; thus, Plaintiff may be awarded its attorneys’ fees and costs
10   and statutory damages.
11          195. Plaintiff’s Ophelia sculptural work has independent economic value and
12   constitutes a separate work of art.
13          196. On information and belief, individual defendants and corporate officers
14   of Invech Ms. He and Ms. Zhang personally engaged in the violation of Plaintiff’s
15   exclusive rights in the Ophelia sculptural work alleged herein.
16          197. On information and belief, individual defendants and corporate officers
17   of Invech Ms. He and Ms. Zhang supervised, and had and have the ability to
18   supervise, Invech’s infringing activity alleged herein—e.g., Invech’s copying and
19   publication of the Ophelia sculptural work—and have a financial interest in that
20   activity.
21          198. As a result of Invech, Ms. He, and Ms. Zhang’s wrongful actions,
22   Plaintiff has suffered damages in an amount to be proven at trial. Plaintiff is entitled
23   to its actual damages and Invech’s profits or, alternatively, statutory damages, as well
24   as its costs, attorneys’ fees and interest.
25          199. Defendant One Nail and Lash Bar is and was the alter ego and/or is and
26   was operating as a single enterprise with Invech during all activities described herein
27   and is jointly and severally liable for all harm, damage, and loss to Plaintiff caused by
28   Invech, Ms. He, and Ms. Zhang.
                                            32
                                 FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 33 of 41 Page ID #:124




 1                                         COUNT VIII
 2   (Passing Off—False Designation of Origin in Violation of Section 43(a) of Lanham
 3                       Act, 15 U.S.C. § 1125(a) Against All Defendants)
 4            200. Plaintiff incorporates and realleges by reference paragraphs 1 through
 5   199 above as if set forth in full herein.
 6            201. Invech sells and markets its “Jellyfish Lampshade” products in interstate
 7   commerce, including, for example, on www.walmart.com.
 8            202. Invech falsely designates the origin of its “Jellyfish Lampshade”
 9   products, including those depicted in Exhibit C, by incorporating pictures of
10   Plaintiff’s pendant lamps into Invech’s online listings, webpages, and other
11   promotional materials, in order to advertise and solicit sales of its “Jellyfish
12   Lampshade” products.
13            203. By using pictures of Plaintiff’s pendant lamps in their online listings,
14   webpages, and other promotional materials, Invech has falsely represented and
15   continues to falsely represent that Plaintiff’s products are Invech’s own and vice
16   versa.
17            204. The images appearing above in paragraph 62 and attached hereto as
18   Exhibit C appear in Plaintiff’s advertising materials (e.g., Plaintiff’s website) and
19   depict Plaintiff’s lamp products.
20            205. The products sold by Invech on the webpage attached hereto as Exhibit
21   C are not Plaintiff’s pendant lamps.
22            206. Invech’s passing off its products as Plaintiff’s products and/or false
23   designation of origin is likely to cause confusion among consumers as to the source
24   of goods. For example, RRD has thousands of followers on Facebook and its lamps
25   have been featured in publications the world over. Consumers associate RRD’s
26   distinctive images of her lamps with the products that she sells. Invech’s use of
27   RRD’s images are likely to deceive consumers regarding the source of their goods
28
                                             33
                                  FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 34 of 41 Page ID #:125




 1   and deceive them into buying products manufactured by someone other than RRD
 2   when they are intending to buy RRD’s products.
 3         207. Invech’s passing off of its products as Plaintiff’s has proximately caused
 4   harm to Plaintiff. For example, Invech falsely represents that its inferior products are
 5   the same as Plaintiff’s pendant lamps. On information and belief, Invech’s false
 6   representation has harmed Plaintiff’s reputation. For example, Invech has received
 7   several negative reviews on www.walmart.com for its imitation products; these
 8   reviews are located on the same webpage as the pictures of Plaintiff’s products.
 9   Invech’s use of Plaintiff’s promotional materials has also directly led to the deception
10   of consumers and resulted in withholding of trade from Plaintiff when its rightful
11   sales were diverted to Invech.
12         208. On information and belief, individual defendants and corporate officers
13   of Invech Ms. He and Ms. Zhang personally, willfully, and knowingly used RRD’s
14   images to market Invech’s products despite knowing that they depicted RRD’s
15   products, not Invech’s products.
16         209. As a result of Invech, Ms. He, and Ms. Zhang’s wrongful actions,
17   Plaintiff has suffered damages in an amount to be proven at trial. Plaintiff is entitled
18   to its actual damages, and Invech’s profits, as well as its costs and interest.
19         210. Defendant One Nail and Lash Bar is and was the alter ego and/or is and
20   was operating as a single enterprise with Invech during all activities described herein
21   and is jointly and severally liable for all harm, damage, and loss to Plaintiff caused by
22   Invech, Ms. He, and Ms. Zhang.
23         211. This case is exceptional and Plaintiff is entitled to an award of its
24   attorneys’ fees under 15 U.S.C. § 1117(a).
25
26
27
28
                                           34
                                FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 35 of 41 Page ID #:126




 1                                         COUNT IX
 2              (False Advertising in Violation of Section 43(a) of Lanham Act,
 3                        15 U.S.C. § 1125(a) Against All Defendants)
 4         212. Plaintiff incorporates and realleges by reference paragraphs 1 through
 5   211 above as if set forth in full herein.
 6         213. Invech sells and markets its “Jellyfish Lampshade” products in interstate
 7   commerce, including, for example, on www.walmart.com.
 8         214. Invech advertises its “Jellyfish Lampshade” products online, including
 9   on www.walmart.com.
10         215. Invech’s commercial advertisements of its “Jellyfish Lampshades”
11   contain literally false statements of fact because, inter alia, they purport to show the
12   products being sold by Invech but they do not. In other words, Invech’s
13   advertisements falsely include pictures of Plaintiff’s pendant lamp products, not the
14   “Jellyfish Lampshades” sold by Invech.
15         216. Invech’s commercial advertisements also misrepresent the nature,
16   characteristics, and/or qualities of its “Jellyfish Lampshade” products.
17         217. For example, Invech misrepresents that it is selling Plaintiff’s high-
18   quality pendant lamps whereas, in reality, Invech is selling inferior quality products.
19         218. Invech’s literally false advertisements presumptively deceive consumers.
20   Moreover, on information and belief, consumers are deceived by Invech’s false
21   advertisements because they think they are buying Plaintiff’s pendant lamps but, in
22   reality, they are buying Invech’s inferior “Jellyfish Lampshade” products.
23         219. Invech’s literally false advertisements are presumptively material, i.e.,
24   they are likely to influence consumers purchase decisions. Moreover, Invech
25   knowingly misrepresents Plaintiff’s product as its own, expecting to benefit from this
26   misrepresentation in the marketplace.
27         220. Invech’s literally false statements also concern inherent qualities of its
28   product, including the materials used in creating the lamps, further underscoring the
                                                 35
                               FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 36 of 41 Page ID #:127




 1   materiality of its false statements. Moreover, Invech prominently displays images of
 2   Plaintiff’s products on its promotional materials, further showing that these images
 3   play a material role in consumers’ purchasing decisions.
 4         221. For example, Plaintiff’s promotional materials attached hereto as Exhibit
 5   C show that Plaintiff’s products are prominently displayed on these materials.
 6         222. Invech caused its false advertisements to enter interstate commerce by,
 7   for example, uploading images of Plaintiff’s products onto its promotional materials
 8   on www.walmart.com.
 9         223. Plaintiff has been and is likely to continue to be injured as a direct result
10   of Invech’s false advertisements using Plaintiff’s promotional images of its products.
11         224. Invech’s false advertisements have proximately caused harm to Plaintiff.
12   For example, Invech falsely represents that it sells Plaintiff’s products by, inter alia,
13   using Plaintiff’s promotional materials. As such, Invech has deceived customers,
14   resulting in withholding of trade and diversion of sales from Plaintiff.
15         225. On information and belief, individual defendants and corporate officers
16   of Invech Ms. He and Ms. Zhang personally, willfully, and knowingly used RRD’s
17   images to market Invech’s products despite knowing that they depicted RRD’s
18   products, not Invech’s products.
19         226. As a result of Invech, Ms. He, and Ms. Zhang’s wrongful actions,
20   Plaintiff has suffered damages in an amount to be proven at trial. Plaintiff is entitled
21   to its actual damages, and Invech’s profits, as well as its costs and interest.
22         227. Defendant One Nail and Lash Bar is and was the alter ego and/or is and
23   was operating as a single enterprise with Invech during all activities described herein
24   and is jointly and severally liable for all harm, damage, and loss to Plaintiff caused by
25   Invech, Ms. He, and Ms. Zhang.
26         228. This case is exceptional and Plaintiff is entitled to an award of its
27   attorneys fees under 15 U.S.C. § 1117(a).
28
                                           36
                                FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 37 of 41 Page ID #:128




 1                                          COUNT X
 2                (Common Law Unfair Competition Against All Defendants)
 3         229. Plaintiff incorporates and realleges by reference paragraphs 1 through
 4   228 above as if set forth in full herein.
 5         230. Invech passes off its goods as those of Plaintiff by, inter alia, using
 6   pictures of Plaintiff’s products and Plaintiff’s reputation in the marketplace to sell its
 7   own lamp products.
 8         231. The public is likely to be deceived about the source of Invech’s goods
 9   because it advertises its own products using images of Plaintiff’s products. For
10   example, the images appearing above in paragraph 62 and attached hereto as Exhibit
11   C appear in Plaintiff’s advertising materials (e.g., Plaintiff’s website) and depict
12   Plaintiff’s lamp products.
13         232. RRD has thousands of followers on Facebook and its lamps have been
14   featured in publications the world over. Consumers associate RRD’s distinctive
15   images of its lamps with the products that it sells. Invech’s use of RRD’s images are
16   likely to deceive consumers regarding the source of its goods and deceive them into
17   buying products manufactured by someone other than RRD when they are intending
18   to buy RRD’s products.
19         233. Invech’s passing off of its products as Plaintiff’s has proximately caused
20   harm to Plaintiff. For example, Invech falsely represents that its inferior products are
21   the same as Plaintiff’s pendant lamps. On information and belief, Invech’s false
22   representation has harmed Plaintiff’s reputation. For example, Invech has received
23   several negative reviews on www.walmart.com for its imitation products; these
24   reviews are located on the same webpage as the pictures of Plaintiff’s products.
25   Invech’s use of Plaintiff’s promotional materials has also directly led to the deception
26   of consumers and resulted in withholding of trade from Plaintiff when its rightful
27   sales were diverted to Invech.
28
                                             37
                                  FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 38 of 41 Page ID #:129




 1         234. Invech is guilty of oppression, fraud, and/or malice. For example,
 2   Invech has exhibited a willful and conscious disregard for RRD’s property rights,
 3   blatantly passing off its goods as RRD’s goods. Through its intentional
 4   misrepresentations (e.g., using RRD’s promotional materials to advertise its own
 5   lamp products), Invech has deprived RRD of its legal rights and caused RRD injury.
 6         235. On information and belief, individual defendants and corporate officers
 7   of Invech Ms. He and Ms. Zhang personally, willfully, and knowingly used RRD’s
 8   images to market Invech’s products despite knowing that they depicted RRD’s
 9   products, not Invech’s products.
10         236. Defendant One Nail and Lash Bar is and was the alter ego and/or is and
11   was operating as a single enterprise with Invech during all activities described herein
12   and is jointly and severally liable for all harm, damage, and loss to Plaintiff caused by
13   Invech, Ms. He, and Ms. Zhang.
14         237. As a result of Invech, Ms. He, and Ms. Zhang’s wrongful actions,
15   Plaintiff has suffered damages in an amount to be proven at trial. Plaintiff is entitled
16   to its actual damages, exemplary and/or punitive damages, and Invech’s profits, as
17   well as its costs and interest.
18                                         COUNT XI
19       (Unfair Competition under Cal. Bus. & Prof. Code § 17200 et seq. Against All
20                                          Defendants)
21         238. Plaintiff incorporates and realleges by reference paragraphs 1 through
22   237 above as if set forth in full herein.
23         239. Invech competes with Plaintiff in the pendant lamp market.
24         240. Invech has engaged in unfair, fraudulent, and/or unlawful business
25   practices within the meaning of California’s Business and Professions Code § 17200
26   because, in California and throughout the country, and through various channels of
27   interstate commerce, Invech has engaged in the unauthorized use of Plaintiff’s
28   promotional materials, artistic work, and reputation in the marketplace.
                                                 38
                                FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 39 of 41 Page ID #:130




 1         241. Invech’s conduct has been anticompetitive, as well as immoral,
 2   unethical, oppressive, unscrupulous, and substantially injurious to consumers.
 3         242. Invech’s conduct is not beneficial, but in any event, the harm caused by
 4   Invech’s conduct outweighs any benefits.
 5         243. Pursuant to California’s Business and Professions Code §§ 17203 &
 6   17206, Plaintiff is entitled to injunctive relief, restitution and disgorgement of
 7   Invech’s profits obtained through its unfair competitive practices, to the maximum
 8   extent permitted by law.
 9         244. On information and belief, individual defendants and corporate officers
10   of Invech Ms. He and Ms. Zhang personally, willfully, and knowingly used RRD’s
11   images to market Invech’s products despite knowing that they depicted RRD’s
12   products, not Invech’s products.
13         245. Defendant One Nail and Lash Bar is and was the alter ego and/or is and
14   was operating as a single enterprise with Invech during all activities described herein
15   and is jointly and severally liable for all harm, damage, and loss to Plaintiff caused by
16   Invech, Ms. He, and Ms. Zhang.
17         246. Unless enjoined, Invech, Ms. He, and Ms. Zhang will continue to
18   compete unfairly with RRD in California, causing harm to the relevant consumers.
19                                      Relief Requested
20         WHEREFORE, Plaintiff RRD prays that the Court enter judgment against
21   each Defendant and in favor of RRD as follows:
22         A.     Judgment that each Defendant has infringed RRD’s copyrighted
23   Medusa pictorial work;
24         B.     Judgment that each Defendant has infringed RRD’s copyrighted Polyp
25   pictorial work;
26         C.     Judgment that each Defendant has infringed RRD’s copyrighted Hydra
27   pictorial work;
28
                                           39
                                FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 40 of 41 Page ID #:131




 1         D.     Judgment that each Defendant has infringed RRD’s copyrighted
 2   Ophelia pictorial work;
 3         E.     Judgment that each Defendant has infringed RRD’s copyrighted
 4   Medusa sculptural work;
 5         F.     Judgment that each Defendant has infringed RRD’s copyrighted Hydra
 6   sculptural work;
 7         G.     Judgment that each Defendant has infringed RRD’s copyrighted
 8   Ophelia sculptural work;
 9         H.     An order and judgment preliminarily and permanently enjoining
10   Defendants and their officers, directors, agents, servants, employees, affiliates,
11   attorneys, and all others acting in privity or in concert with them, and their parents,
12   subsidiaries, divisions, successors and assigns from further acts of infringement of
13   any and all of RRD’s copyrighted works;
14         I.     Awarding RRD compensatory and actual damages;
15         J.     Ordering each Defendant to provide an accounting of its profits;
16         K.     Awarding RRD actual damages under the Copyright Act or, at the
17   election of RRD, statutory damages for Invech’s copyright infringement;
18         L.     Increasing the award of damages because of Invech’s willful
19   infringement;
20         M.     Requiring each Defendant to deliver upon oath, to be impounded during
21   the pendency of this action, all infringing copies of RRD’s copyrighted works, and
22   that an order of impoundment and/or seizure in respect of the foregoing be issued
23   out of this Court in the manner provided by the Copyright Act and by the United
24   States Supreme Court Copyright Practice Rules (1909); and that at the conclusion of
25   this action, the Court shall order all such materials so held to be surrendered to RRD
26   or to be destroyed under a Writ of Destruction issued under 17 U.S.C. § 503,
27   whichever shall seem to this Court to be most just and proper;
28
                                           40
                                FIRST AMENDED COMPLAINT
 Case 5:19-cv-01074-FMO-SHK Document 13 Filed 07/03/19 Page 41 of 41 Page ID #:132




 1         N.     Awarding RRD punitive or exemplary damages because of Invech’s
 2   oppressive, fraudulent, and malicious business practices and conduct;
 3         O.     Awarding RRD restitution;
 4         P.     Awarding RRD its attorneys’ fees and costs;
 5         Q.     Awarding RRD prejudgment and post-judgment interest;
 6      Awarding such other and further relief as the Court may deem just and proper.
 7                                   Demand for Jury Trial
 8         Plaintiff hereby demands a jury trial on all claims, damages and any other
 9   issues presented herein that are triable to a jury.
10
11    DATED: July 3, 2019                By:    /s/ Guy Ruttenberg
                                                Guy Ruttenberg
12                                              Steve Papazian
13                                              RUTTENBERG IP LAW, A
                                                PROFESSIONAL CORPORATION
14                                              1801 Century Park East, Suite 1920
15                                              Los Angeles, CA 90067
                                                Telephone: (310) 627-2270
16                                              Facsimile: (310) 627-2260
17                                              guy@ruttenbergiplaw.com
                                                steve@ruttenbergiplaw.com
18                                              Attorneys for Plaintiff
19
20
21
22
23
24
25
26
27
28
                                            41
                                 FIRST AMENDED COMPLAINT
